                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

IN THE MATTER OF:

       Grow Green MI Inc.                       Case No.24-31158-jda
                                                Chapter 11
          Debtor.                               Judge Applebaum
_____________________________/



    FIRST DAY INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL
                 AND GRANTING ADEQUATE PROTECTION
       Upon consideration of Debtor’s First Day Motion for Interim Authority to Use
Cash Collateral and for Related Relief (the “Motion”) filed by Grow Green MI Inc(
“Debtor”) requesting this Court’s authorization to use the cash collateral of collectively
BFG Supply Company (“BFG”), Amazon Capital Services (“Amazon”), Michigan
Department of Treasury, Commercial Credit Group Inc.(“CCG”) and CT Corporation
Services (“Secured Creditors”) pursuant to 11 U.S.C. § 363(c)(2) and Fed. R. Bankr. P.
4001 due and proper notice of the Motion has been given to all parties entitled thereto;
the Court has considered all relevant matters related thereto and is otherwise fully
advised in the premises; a preliminary hearing was held on the Motion pursuant to the
provisions of Fed. R. Bankr. P. 4001(c)(2); the Court finds that the Motion should be
granted and specifically finds as follows:
       A.     This Court has jurisdiction of this Case and the Motion pursuant to 28
U.S.C. §§ 157(b) and 1334. Consideration of the Motion constitutes a core proceeding
as defined in 28 U.S.C. § 157(b)(2). Venue is proper in this Court pursuant to 28 U.S.C.
§ 1408.
       B. Notice of the Motion and the relief requested therein was served by the Debtor
on Secured Creditors, the twenty largest unsecured creditors, and the Office of the
United States Trustee (“U.S. Trustee”)
       C. The Debtor has demonstrated that it has an immediate need to use Cash
Collateral, among other things, to permit the continued operations of the Debtor.




  24-31158-jda     Doc 27    Filed 06/26/24   Entered 06/27/24 07:39:35    Page 1 of 5
       D. Good cause has been shown for entry of this Order. This Order has been
negotiated in good faith and at arm’s length and the Court finds that the Secured
Creditors have acted in good faith in connection with this Order.
       E. The amount of cash the Debtor proposes to use before entry of a final order
granting the Motion is set forth in the Budget attached to the Motion. Specifically, during
June, July, August, September months of this case, the Debtor projects that it will need
to spend $1,146,975.52. During the first interim period, Petition Date through July 10,
2024, the Debtor will need to spend $152,501.23 and in the first 30 days $278,002.46 to
avoid immediate and irreparable harm.
       F. The value of the Debtor’s estate will be maximized by the continuation of
Debtor as an on-going business and the use of Cash Collateral is essential to such
operation.
       G. Prior to the Petition Date, the Debtor and the Secured Creditors were parties
to various agreements.
       H. As a consequence of the foregoing, the Secured Creditors claim they possess
valid and perfected security agreements in substantially all of the Debtor’s property,
whether tangible or intangible, and wherever located, and whether now or hereafter
acquired and all cash, cash equivalents, proceed, products, and profits in existence
before, on, or after the Petition Date.
       NOW THEREFORE, IT IS ORDERED THAT:
       1. The Motion is hereby granted on an interim basis subject to the terms and
conditions set forth in this order.
       2. The Debtor is authorized to use the cash collateral of each of the Secured
Creditors on an interim basis and pending a final hearing on the Motion (“Final Hearing”)
in a manner consistent with the budget attached to the Motion (“Budget”) to pay actual,
ordinary, and necessary expenses of maintaining its business operations and to budget
for the anticipated court approved costs of the Debtor’s attorneys, accountants, and the
subchapter V trustee (“Carve Out”). For accounting purposes, the Carve-Out may be
segregated consistent with the Budget line items for professional fees, into a separate
Debtor in Possession Account (“Professional Fee Account”). The funds in the




  24-31158-jda      Doc 27    Filed 06/26/24   Entered 06/27/24 07:39:35    Page 2 of 5
Professional Fee Account will remain property of the estate, and no professional may
assert a lien or other interest against the Professional Fee Account.
       3. Retroactive to the Petition Date and without the necessity of any additional
documentation or filings, as adequate protection for and to protect the Secured
Creditors against any diminution in value of the pre-petition collateral, the Debtor grants
to Secured Creditors a fully perfected replacement lien having the same validity as, on
the same types of collateral (whether arising prior to, on or after the Petition Date) as
and of the same relative lien priority as held by the Secured Creditors respective pre-
petition liens and security interests held with respect to the collateral (“Adequate
Protections Liens”). The Adequate Protections Liens granted by this Interim Order are in
addition to all security interests, liens, rights of Secured Creditors existing as of the
Petition Date. The relative priorities and rights of payment between and among Secured
Creditors as of the Petition Date shall remain the same as they were prior to the Petition
Date and shall remain in full force and effect pursuant to this Order. For clarity, the
collateral securing the Adequate Protection Liens shall not include any cause of action
under Chapter 5 of the bankruptcy code nor the proceeds from such claims, nor shall it
include any claims under 11 U.S.C. § 506 (c).
       4. All liens and security interests in the Adequate Protections Liens granted to the
Secured Creditors by this Order are deemed duly perfected and recorded under all
applicable laws as of the date hereof, and no notice, filing, mortgage recordation,
possession, further order or act shall be required to effect or continue such perfection
although Secured Creditors may, in their sole discretion make any filing or recordation
or other acts which each deems appropriate with respect to such perfection
       5. The entry of this Order is without prejudice to the Debtor’s right to seek
authority from the Court to use additional cash collateral or borrow funds pursuant to 11
U.S.C.364 if the Debtor determines that the cash collateral authorized by this Order is
insufficient.
        6.      The Debtor is authorized to use Secured Creditors cash collateral on an
interim basis and pending a final hearing on the Motion (“Final Hearing”) in a manner
that is substantially consistent with the budget to pay actual, ordinary, and necessary
expenses of maintaining its business operations and to pay costs of the Debtor’s



  24-31158-jda      Doc 27   Filed 06/26/24   Entered 06/27/24 07:39:35     Page 3 of 5
professionals. The Debtor’s use of cash collateral will conform to the amounts set forth
in the budget with a ten percent (10%) variance.
         7.    Objections to this Order must be filed within fourteen (14) days from the
date of entry of the Order
         8.    The Motion is hereby set for a Second Interim Hearing before this Court at
11:00 am on July 10, 2024 (“Second Interim Hearing”) and a Final Hearing Date of July
24, 2024 at 11:00am (such date or such later date to which the final hearing is
adjourned or continued, the “Final Hearing Date”), at which time any party in interest
may present any timely filed objections to the entry of a Final order (“Final Order”) in the
form of, and containing relief substantially similar to, this Order.        The Debtor will
promptly serve a notice of the Final Hearing, together with a copy of this Order, by
regular mail or electronic mail upon (i) the Office of the United States Trustee,)(ii)20
largest unsecured creditors, (iii) all secured creditors, (iv) the United States Trustee's
Office.(v) any other party which has filed a request with this Court for notice in the
Debtors’ case and served such request upon the Debtor’s counsel. The notice of the
Final Hearing will state that objections to the entry of a Final Order on the Motion will be
in writing and will be filed with the United States Bankruptcy Court Clerk for the Eastern
District of Michigan no later than 14 days after entry of this Order which objections will
be served so that the same are received on or before 5:00 pm (Eastern Standard Time)
of such date by: (i) Scott Kwiatkowski, Goldstein, Bershad & Fried, P.C. counsel to the
Debtor, 4000 Town Center, Suite 1200, Southfield, Michigan 48075; (ii) the Office of the
United States Trustee; (iii) Secured Creditors; (iv) Office of the United States Attorney
for the Eastern District of Michigan, US Department of Justice.           Any objections by
creditors or other parties in interest to any of the provisions of this Order will be deemed
waived unless filed and served in accordance with this paragraph.
         9.    If no timely objections are filed, this Order will become a final order without
any further action by the Court.
         10.   The Debtor’s authority to use the Secured Creditors cash collateral under
this Order will be effective immediately and will continue until otherwise ordered by the
Court.

Signed on June 26, 2024



  24-31158-jda      Doc 27    Filed 06/26/24    Entered 06/27/24 07:39:35      Page 4 of 5
24-31158-jda   Doc 27   Filed 06/26/24   Entered 06/27/24 07:39:35   Page 5 of 5
